                        Case 4:05-cr-00018-JRH Document 99 Filed 03/19/19 Page 1 of 1
GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)( 1 )(B)      Page 1 of2(Page S.tfot ^iPublic Disclosure)
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                                         United States District Court                                                     AUGur:;^       .•   t.



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                                                           Southern District of Georgia
                                                                 Savannah Division
                                                                                                                   CLERK
                                                                                                                          SO.Oli:
                     United States of America
                                    V.                                       )
                                                                             ) Case No:           4:Q5CR00018-1
                           Glenn McCloud                                     )
                                                                             ) USMNo: 12088-021
Date of Original Judgment:         April 28, 2005                            )
Date of Previous Amended Judgment: October 22,2015                           ) William G. Bell, III
(Use Dale ofLast Amended Judgment ifAny)                                          Defendant's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

           Upon motion of ^the defendant □ the Director of the Bureau of Prisons □ the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.!0 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           M DENIED.            □ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastJudgment issued) of                                               months is reduced to

                                                (Complete Parts I and H ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgm.e.nt dated                        October 22,2015        shall remain in effect.
IT IS SO OIUJERED.


Order Date:             44                                                                                     s signature


Effective Date:                                                         J. Randal Hafh Chief Judge
                                                                        United States District Court
                                                                        Southern District of Georgia
                       (ifdifferent from order date)                                                   Printed name and title
